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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 14-251
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   EMIGDIO SAUCEDA-MACIAS,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Possession of Heroin with Intent to Distribute

15 Date of Detention Hearing:     June 23, 2014.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has chosen to not be interviewed by Pretrial Services. Accordingly,



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01 there is no information available about his personal history, residence, family ties, ties to this

02 District, income, financial assets or liabilities, physical/mental health or controlled substance

03 use. He does not contest entry of an order of detention.

04          2.     Defendant poses a risk of nonappearance based on lack of known background

05 information, and unknown ties to this District. He poses a risk of danger based on the nature of

06 the charges.

07          3.     There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

12          General for confinement in a correction facility separate, to the extent practicable, from

13          persons awaiting or serving sentences or being held in custody pending appeal;

14      2. Defendant shall be afforded reasonable opportunity for private consultation with

15          counsel;

16      3. On order of the United States or on request of an attorney for the Government, the

17          person in charge of the corrections facility in which defendant is confined shall deliver

18          the defendant to a United States Marshal for the purpose of an appearance in connection

19          with a court proceeding; and

20      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

21          for the defendant, to the United States Marshal, and to the United State Pretrial Services

22          Officer.



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01       DATED this 23rd day of June, 2014.

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03                                                A
                                                  Mary Alice Theiler
04                                                Chief United States Magistrate Judge

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     DETENTION ORDER
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